   Case 1:23-cv-03754-BAH         Document 30       Filed 12/09/24    Page 1 of 3



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                             CLERK’S OFFICE
                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

                                      Received: 12/5/2024
                                  Sent to Chambers: 12/9/2024




       TO:       Judge: Howell

       RE:       Civil Action No.: 1:23-cv-03754-BAH



       Please indicate on the face of each document whether leave to file is granted or

       denied.

     Thank you
                                             ANGELA D. CAESAR, Clerk


                         By Deputy Clerk: Michele M. Grady           ____


Attachment(s) 1:

       NOTE: Defendant's Errata - closed case


CO-930A
(Rev. 07/29/10)
          Case 1:23-cv-03754-BAH                       Document 30               Filed 12/09/24     Page 2 of 3



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